Case 1:23-cv-11935-WGY Document 1-1 Filed 08/23/23 Page 1 of 24




           EXHIBIT A
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Case 1:23-cv-11935-WGY Document 1-1 Filed 08/23/23 Page 2 of 24
                 Case 1:23-cv-11935-WGY Document 1-1 Filed 08/23/23 Page 3 of 24



                                                                                                   TRUE COPY ATTEST


                                                  Commonwealth of Massachusetti&.:. · -~- ...~ · -~;

            MIOOLESEX,SS.                                                     TRIAL COURT OF THE COMMONWEALTH
                                                                              SUPERIOR COURT DEPARTMENT
                                                                              CIVIL DOCKET NO, 2281CV03238

             ~ - - - - - - - - - • PLAINTIFF(S),

            V.    Massachusetts Institute of Technology
             _ __ _Fed
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                                   nio
                                     _n_ ~           , DEFENDANT(S)

                                                                       SUMMONS
                                                           Massachusetts Institute of Technology
            THIS SUMMONS IS DIRECTED TO                           Federal Credit Union             . (Defendant's name)

            You are being sued. The Plaintiff(s) named above has started a lawsuit against you. A copy of the
            Plaintiff's Complaint filed against you is attached to this summons and the original complaint has been
            filed in the     Middlesex County Superior    Court. YOU MUST ACT PROMPTLY 1"0 PROTECT YOUR RIGHTS.


1.          You must respond to this lawsuit in writing within 20 days. If you do not respond, the court may decide
            the case against you and award the Plaintiff everything asked for in the complaint. You will also lose the
            opportunity to tell your side of the story. You must respond to this lawsutt in writing even if you expect
            to resolve this matter with the Plaintiff. If you need more time to respond, you may request an
            extension of time in writing from the Court.
2.          How to Respond. To respond to this laws.u il, you must file a written response with the court and mail a
            copy to the Plaintiff's Attorney (or the Plaintiff, if unrepresented). You can do this by:
       a    Filing your signed original response with the Clerk's Office for Civil Business, Middlesex Countcourt
     200 Trade Center. 2nd floor (address), by mail or in person, AND                            Supenor
       b~ID1Stii~1~1r mailing a copy of your response to the Plaintiffs Attomey/P1aintiff at the following
           address:
3          What to include in your response. An "Answer" is one type of response to a Complaint. Your Answer
           must state whether you agree or disagree with the facl(s) alleged in each paragraph of the Complaint.
           Some defenses, called affirmative defenses, must be stated in your Answer or you may lose your right to
           use them in court. If you have any claims against the Plaintiff (referred to as counterclaims) that are
           based on the same facts or transaction described in tt"!e Cornplaint, then you must include those claims
           In your Answer. Otherwise, y~ may lose your right to sue the Plaintiff about anything related to this
           lawsuit. If you want to have your case heard by a jury, you must specifically request a jury trial in your
           Answer or in a written demand for a jury trial that you must send to the other side and file with the
           court no more than 10 days after sending your Answer. You can a lso respond to a Complaint by fifing a
           " Motion to Dismiss," if you believe that the complaint is legally invalid o r legally insufficient. A Motion
           to Dismiss must be based on one of the legal deficiencies or reasons listed under Mass. R. Civ. P. 12. If
           you are filing a Motion to Dismiss. you must also comply with the filing procedures for "Civil Motions"
           described in the rules of the Court in which the complaint was filed, available at
           www.mass.gov.courtsJcase-legal-res/rules of court.
       Case 1:23-cv-11935-WGY Document 1-1 Filed 08/23/23 Page 4 of 24




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      Witness Hon. Hold/ Briogor. Chlof Justice on                 /lk)yembef 30       , 20 ~ ,




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     Note: The numb11r nsslgned 10 tho Complaint by   toe C1t,r1!-Ma9istrate i.lt the begimiing of the l11Wt1uI1should bo tndlcatod on the
     summon:; bofore It Is servoo on thO Oefeodmll.




                                           PROOF OF SERVICE OF PROCESS

              I hereby certify thclt on _ _ __ _ ~~ . 20 ~ , I served a copy of this summons,
     together with a copy of the complaint In this action, on the defendant named In this summons, in the
     following manner (Seo Mass. R. Civ. P. 4(d)(1-5)):




     Dated: ___ _ _ _ _ _ _ - • 20 _
                                                                         Signatura: _ _~ - - - - - -- - - - ~



     N.B.     TO PROCESS SERVER:


              PLEASE ENTER THE DATE THAT YOU MADE SERVICE ON THE DEFENDANT IN THIS BOX - BOTH
     ON THE ORIGINAL SUMMONS AND ON THE COPY OF THE SUMMONS SERVED ON THE DEFENDANT.
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                                 C01\1MONWEALTH OF MASSACHUSETTS

    MIDDLESEX, SS.                                                                         SUPERIOR COURT
                                                                 CIVIL ACTION NO.
                                                                                           -------

     JANE DOE (a pseudonym),

                     Plaintiff

     V.


     JOHN ROE (a pseudonym),
     MASSACHUSETTS INSTITUTE OF
     TECHNOLOGY,

                     Defendants.



                                    COMPLAINT AND JURY DEMAND

           Plaintiff Jane Doe1 ("Plaintiff") brings this action against Defendants Massachusetts

Institute of Technology ("MIT' or "Defendant MIT") and John Roe1 ("Roe" or "Defendant

Roe") and respectfully alleges as follows:

                                                     PARTIES

           I.      Plaintiff, Jane Doe, is an individual who, during the time periods relevant to this

complaint, was both an employee of Defendant MIT, where she was supervised by Defendant

Roe, and a partner in a separate business venture with Defendant Roe ("the Company"). At the

time of filing this complaint, Plaintiff resides in Bellingham, Washington.

           2.      Defendant MIT is an educational institution with its principal place of business at

77 Massachusetts Avenue in Cambridge, Massachusetts.




1   Jane Doe is filing a Motion to Proceed under Pseudonym to accompany the filing of this Complaint.


                                                                                                         1
           Case 1:23-cv-11935-WGY Document 1-1 Filed 08/23/23 Page 6 of 24



          3.    Defendant Roe is an individual who, during the time periods relevant to this

complaint, during the time periods relevant to this complaint, was both an employee of

Defendant MIT, where he was the direct supervisor of Plaintiff, and a partner in the Company, a

separate business venture with Plaintiff. Upon information and belief, at the time of filing this

complaint, Defendant Roe resides in Vermont.

                                  ,UJBISDICTIQN ANQ VENUE
          4.    This Court has jurisdiction over the subject matter of this action pursuant to M G.L. c.

212, § 4, because the amount in controversy exceeds twenty-five thousand dollars ($25,000),

exclusive of interest and costs, and the claims asserted involve alleged violations of Massachusetts

state laws.

          5.    Venue is proper in this Court pursuant to MG.L. c. 223, § I, because the Defendants

reside, have a principal place of business, or committed the alleged wrongful acts within the County

where this Court is located. Specifically, MIT is a university located in Cambridge, Massachusetts,

which is within Middlesex County, and the events giving rise to this action occurred within the

County.

                                     STATEMENT OF FACTS
          6.    Plaintiff incorporates by reference the Charge of Discrimination filed with the

Massachusetts Commission Against Discrimination on January 12, 2021, and the Complaint

filed with the Department of Labor on Apri 13, 2021 (collectively, "the Agency Complaints").

          7.    Subsequent to Plaintiff's filing of the Agency Complaints, Defendant Roe and

MIT persisted in engaging in the wrongful acts and conduct as alleged in the Agency

Complaints.

                                          LEGAL CLAIMS
                                            COUNT ONE


                                                                                                       2
          Case 1:23-cv-11935-WGY Document 1-1 Filed 08/23/23 Page 7 of 24



                       (Violation of Massachusetts Discrimination Laws)

          8.    Plaintiff incorporates by reference all preceding paragraphs as if fully set forth

herein.

          9.    Defendants engaged in unlawful discriminatory practices against Plaintiff based

on gender and disability, violating Massachusetts laws governing employment discrimination

and discrimination applicable outside of employment (i.e., M.G.L. c. 93, § 102), and Defendants

continue to do so.

          10.   As a result of Defendants' unlawful discriminatory practices, Plaintiff has

suffered damages, including but not limited to lost wages, physical sickness, emotional distress,

business losses, and harm to professional reputation.

                                           COUNT TWO

                      (Violation of Massachusetts Wage and Hour Laws)

          11.   Plaintiff incorporates by reference all preceding paragraphs as if fully set forth

herein.

          12.   Defendant violated Massachusetts wage and hour laws, including by

misclassifying the Plaintiff as an independent contractor, failing to timely pay wages, and failing

to provide benefits normally afforded to MIT employees.

          13.   As a result of Defendants' violation of Massachusetts wage and hour laws,

Plaintiff has suffered damages, including but not limited to late-paid wages, unpaid wages, and

the loss of the value of employment benefits normally afforded to MIT employees.

                                         COUNT THREE

                                            (Retaliation)




                                                                                                     3
          Case 1:23-cv-11935-WGY Document 1-1 Filed 08/23/23 Page 8 of 24



          14.    Plaintiff incorporates by reference all preceding paragraphs as if fully set forth

herein.

          15.    Defendants retaliated against Plaintiff for engaging in protected activity, such as

complaining about discrimination and complaining about other violations of law, in violation of

Massachusetts retaliation laws and public policy.

          16.    As a result of Defendant's retaliatory actions, Plaintiff has suffered damages,

including but not limited to lost wages, physical sickness, emotional distress, business losses,

and harm to their professional reputation.

                                           COUNT FOUR

                          (Breach of Fiduciary Duty by Defendant Roe)

          17.    Plaintiff incorporates by reference all preceding paragraphs as if fully set forth

herein.

          18.    Defendant Roe owed Plaintiff a fiduciary duty in their joint venture and/or

business relationship.

          19.    Defendant Roe breached that fiduciary duty, by engaging in conflicted roles,

self-dealing, interfering in prospective advantageous business relationships, making false

statements relied on by Plaintiff and others, and/or failing to act in the best interest of the joint

venture and Plaintiff.

          20.    As a result of Defendant Roe's breach of fiduciary duty, Plaintiff has suffered

damages, including but not limited to lost profits, harm to their professional reputation, and

emotional distress.

                                             COUNT SIX

                (Derivative Claim for Breach of Fiduciary Duty by Defendant Roe)



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          21.    Plaintiff incorporates by reference all preceding paragraphs as if fully set forth

herein.

          22.    Plaintiff brings this action derivatively on behalf of the Company.

          23.    Defendant Roe owed the Company a fiduciary duty in their capacity as member,

manager and 50% shareholder of the Company.

          24.    Defendant Roe breached that fiduciary duty by engaging in conflicted roles,

self-dealing, interfering in prospective advantageous business relationships, and/or failing to act

in the best interest of the Company.

          25.    As a result of Defendant Roe's breach of fiduciary duty, the Company has

suffered damages, including but not limited to lost profits, harm to its reputatio~ and potential

legal liabilities.

          26.    Plaintiff has standing to bring this derivative action because they are a member,

manager, and 500/o shareholder of the Company and has been so throughout the relevant time

period.

          27.    Plaintiff has taken appropriate steps to demand that the Defendant Roe address the

breach of fiduciary duty, but those attempts have failed and Plaintiff has determined that such

attempts are futile due to Defendant Roe's conflicts of interest, necessitating this derivative

action.

                                          COUNT SEVEN
                                      (Fraudulent Inducement)

          28.    Plaintiff incorporates by reference all preceding paragraphs as if fully set forth

herein.




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          Case 1:23-cv-11935-WGY Document 1-1 Filed 08/23/23 Page 10 of 24



          29.   Between about May 2019 and January 2020, Defendant Roe made false

representations of material facts to Plaintiff with the intent to induce Plaintiff to rely on those

representations, including among other misrepresentations that Defendant Roe had the authority

to offer Plaintiff the particular MIT job description, conditions of employment, and

compensation package that he did.

          30.   Plaintiff reasonably relied on Defendant Roe's false representations in joining

MIT around August 2019. Plaintiff discovered the fraud when Defendant Roe admitted to

making the misrepresentations.

          31.   As a result of Defendant Roe's fraudulent inducement, Plaintiff has suffered

damages, including but not limited to lost profits, harm to her professional reputation, and

emotional distress.

                                          COUNTEIGBT

                             (Breach of Contract by Defendant MIT)

          32.   Plaintiff incorporates by reference all preceding paragraphs as if fully set forth

herein.

          33.   Plaintiff was employed by Defendant MIT and subject to MITs employment

policies and procedures, which formed a part of the employment contract between Plaintiff and

Defendant MIT. Additionally, Plaintiff was a third-party beneficiary to MIT's employment

policies and procedures because, for example, the policies met MIT's non-discrimination

requirements as a federal contractor intended to benefit all workers.

          34.   Defendant MIT's policies and procedures required the good faith investigation

and remedy of any complaints of retaliation and discrimination raised by employees, such as

Plaintiff.




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       Case 1:23-cv-11935-WGY Document 1-1 Filed 08/23/23 Page 11 of 24



       3 5.    Plaintiff raised concerns and complaints regarding retaliation and discrimination

to Defendant MIT, which Defendant MIT failed to adequately investigate and remedy, in

violation of its own policies and procedures.

       36.     As a result of Defendant MIT's breach of contract, Plaintiff has suffered damages,

including but not limited to lost wages, physical sickness, emotional distress, business losses,

and harm to their professional reputation.

                                    DEMAND FOR RELIEF

       WHEREFORE, Plaintiff respectfully requests that this Court:

       A. Enter judgment in favor of Plaintiff and against Defendants Roe and MIT;

       B. Award Plaintiff damages for lost business opportunities, lost profits, and other

compensatory damages resulting from the alleged claims;

       C. Award Plaintiff damages for emotional distress and physical sickness resulting from

the alleged claims;

       D. Award Plaintiff punitive, exemplary, and treble damages, if applicable;

       E. Award Plaintiff prejudgment and post-judgment interest on all amounts awarded;

       F. Award Plaintiff reasonable attorney's fees and costs;

       G. Issue an injunction ordering Defendant MIT to implement and enforce policies,

procedures, and training programs aimed at eliminating and preventing the systemic issues that

caused and perpetuated the alleged misconduct, including but not limited to, promoting equal

opportunity, preventing discrimination and retaliation, and ensuring compliance with relevant

laws and regulations; and

       H. Grant such other and further relief as this Court deems just and proper.

                                 DEMAND FOR JURY TRIAL



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       Case 1:23-cv-11935-WGY Document 1-1 Filed 08/23/23 Page 12 of 24



       Plaintiff hereby demands a trial by jwy on all claims and issues so triable.

                                        VERIFICATION

I, Jane Doe, under the pains and penalties of perjury, hereby depose and say that I am the

Plaintiff in the above captioned action and that I have read the allegations in the foregoing

Verified Complaint and, as to each statement of fact alleged therein, I hereby affirm and verify

that I have actual knowledge of each such fact and that such fact is true, except as to matters

specifically alleged on information and belief, which I believe to be true.

Signed under the pains and penalties of perjwy on this 4th day of May, 2023.



                                                      Dated: May 4, 2023



                                                      Respectfully submitted,

                                                      Plaintiff,

                                                      Jane Doe




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1penor court - MlddleSeX
1cket Number 2381CV01298 Case 1:23-cv-11935-WGY   Document 1-1 Filed 08/23/23 Page 13 of 24
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                                                                           No.    2381CV01298                B




                  Motion for Appointment as Special Process Server and Order of Appointment


               In accordance with the provisions of Rule 4c of the M.R.C.P., the undersigned hereby
               Motions this Honorable Court for the appointment of:
                                                    Joseph Topol
                                                  (Name of Appointee)

               as process server in the above entitled action. The undersigned swears that to the best of
               his (her) lmowledge and belief the person to be appointed process server is a Constable
               who is experienced in the service of process, is 18 years of age or over and is not a party
               to this action.
                     Jane Doe
               Name ofAffiant for Pitt:
                      scma.case@gmail.com
                Email Address for Pitt:




                                      Order Appointing Special Process Server

               The foregoing Motion is allowed and pursuant to Rule 4c of the M.R.C.P. IT IS
               ORDERED that
                                                  Joseph Topol
               (Name of Appointee)

               is herby appointed as Special Process Server in the above entitled action.


                                                          By: _ _ _ _ _ _ _ _ _ _ _ __
   ~                                                                             Justice
    . __________
   ~-
       _,
Case 1:23-cv-11935-WGY Document 1-1 Filed 08/23/23 Page 14 of 24
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4.           Legal Assistance. You may wish to get legal help from a lawyer. If you cannot get legal help, some basic
            information for people who represent themselves is available al www.mass.gov/courts/selfhelp.
s.          Required Information on all filings: The "civil docket number" appearing al the top of this notice is the
            case number assigned to this case and must appear on the front of your Answer or Motion to Dismiss.
            You should refer to yourself as the "Defendant."

            Witness Hon. Heidi Brieger, Chief Justice on _ _ _ _ _A"""u_..g"'"us_t_3 , 20 E._.




        Micael~¥JYQL·
        C erk-Magistrate



        Note: The number assigned to the Complaint by the Clerk-Magistrate at the beginning of the lawsuit should be indicated on the

       summons before it is served on the Defendant.




                                                    PROOF OF SERVICE OF PROCESS

                  I hereby certify that on                        AuguS t 3 , 20~ , I served a copy of this summons,
      together with a copy of the complaint in this action, on the defendant named in this summons, in the
      following manner (See Mass. R. Civ. P. 4(d}(1-5)):


        left a co       at 2003 Hale Hollow Rd, Plymouth, VT 05056



     Dated:_ _ _ _ ___:.A_,,u::.:agt.::.u:=..:st:..:::3 , 20         Signature: ~ a ----....:...!'._____ _ _ __



     N.B.      TO PROCESS SERVER:


               PLEASE ENTER THE DATE THAT YOU MADE SERVICE ON THE DEFENOA NT IN THIS BOX • BOTH
     ON THE ORIGINAL SUMMONS ANO ON THE COPY OF THE SUMMONS SERVED ON THE DEFENDANT.




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           Case 1:23-cv-11935-WGY Document 1-1 Filed 08/23/23 Page 17 of 24




                                   COMMONWEALTH OF MASSACHUSETTS
                                                                                           SUPERIOR COURT
     MIDDLESEX, SS.                                              CIVIL ACTION NO. 2381CV01298




      JANE DOE (a pseudonym),

                       Plaintiff

      v.
      JOHN ROE (a pseudonym),
      MASSACHUSETTS INSTITUTE OF
      TECHNOLOGY,
                      Defendants.


                                    COMPLAIN T AN D JURY DEMAN U

             Plaintiff Jane Doe' ("Plaintiff') brings this action against Defendants Massachusetts

  Institute of Technology ("MIT" or "Defendant MIT") and John Roe' ("Roe" or "Defendant

 Roe") and respectfully alleges as follows:
                                                  PARTIES

           I.      Plaintiff, Jane Doe, is an individual who, during the time periods relevant to this

complaint, was both an employee of Defendant MIT, where she was supervised by Defendant

Roe, and a partner in a separate business venture-with Defendant Roe ("the Company"). At the

time of filing this complaint, Plaintiff resides in Bellingham, Washington.

        2.        Defendant MIT is an educational institution with its principal place of business at

77 Massachusetts Avenue in Cambridge, Massachusetts.




' Jane Do e ts 1 mg a Motron
            · fil'       · to Proceed under Pseudonym to accompany the filing of this Complaint.


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      Case 1:23-cv-11935-WGY Document 1-1 Filed 08/23/23 Page 18 of 24



             3.     Defendant Roe is an individual who, during the time periods relevant to this

 · complaint, during the time periods relevant to this complaint, was both an employee of

  Defendant MIT, where he was the direct supervisor of Plaintiff, and a partner in the Company, a

  separate business venture with Plaindff. Upon infonnation and belief, at the time offiling this

  complaint, Defendant Roe resides in Vermont.
                                     ,llIBISDICTJQN AN Q VEN UE
            4.     This Court has jurisdiction over the subject matter of this action pursuant to M.G.L. c.

 212, § 4, because the amount in controversy exceeds twenty-five thousand dollars ($25,000),

 exclusive of interest and costs, and the claims asserted involve alleged violations of Massachusetts


 state laws.
         5.        Venue is proper in this Court pursuant to M.G.L. c. 223, § 1, because the Defendants

 reside, have a principal place of business, or committed the alleged wrongful acts within the County

 where this Court is located. Specifically, MIT is a university located in Cambridg~, Massachusetts,

 which is within Middlesex County, and the events giving rise to this action occurred within the


County.
                                      STATEMEN T OF FACTS

                  Plaintiff incorporates by reference the Charge of Discrimination filed with the
        6.
Massachusetts Commission Against Discrimination on January 12, 2021, and the Complaint

filed with the DepartmentofLaboron Apri 13, 2021 (collectively, "the Agency Complaints").

                  Subsequent to Plaintiffs filing of the Agency Complaints, Defendant Roe and
       7.

MIT persisted in engaging in the wrongful acts and conduct as alleged in the Agency

Complaints.

                                          LEGAL CLAIMS

                                            COUN T ON E



                                                                                                         2
     Case 1:23-cv-11935-WGY Document 1-1 Filed 08/23/23 Page 19 of 24




                         (Violation of Massachusetts Discrimination Laws)

           8.     Plaintiff incorporates by reference all preceding paragraphs as if fully set forth

 herein.
           9.     Defendants engaged in unlawful discriminatory practices against Plaintiff based

 on gender and disability, violating Massachusetts laws governing employment discrimination

 and discrymination applicable outside of employment (i.e., M.G .L. c. 93, § 102), and Defendants

 continue to do so.
           10.    As a result of Defendants' unlawful discriminatory practices, Plaintiff has

 suffered damages, including but not limited to lost wages, physical sickness, emotional distress,

 business losses, and harm to professional reputation.
                                            COUN T TWO

                        (Violation of Massachusetts Wage and Hour Laws)

           11.   Plaintiff incorporates by reference all preceding paragraphs as if fully set forth

herein.
          12.    Defendant violated Massachusetts wage and hour laws, including by

misclassifying the Plaintiff as an independent contractor, failing to timely pay wages,· and failing

to provide benefits normally afforded to MIT employees.

          13.    As a result of Defendants' violation ofMassach~setts wage and hour laws,

Plaintiff has suffered damages, including but not limited to late-paid wages, unpaid wages, and

the loss of the value of employment benefits _normally ~fforded to MIT employees.

                                          COUN T THREE

                                             (Retaliation)




                                                                                                       3
       Case 1:23-cv-11935-WGY Document 1-1 Filed 08/23/23 Page 20 of 24




          14.     Plaintiff incorporates by reference all preceding paragraphs as if fully set forth

herein.
          15.     Defendants retaliated against Plaintiff for engaging in protected activity, such as

 complaining about discrimination and complaining about other violations of law, in violation of

 Massachusetts retaliation laws and public policy.
          16.     As a result of Defendant's retaliatory actions, Plaintiff has suffered damages,

 including but not limited to lost wages, physical sickness, emotional distress, business losses,

 and harm to their professional reputation.
                                            COUN T FOUR

                           (Breach of Fiduciary Duty by Defendant Roe)

          17.     Plaintiff incorporates by reference all preceding paragraphs as if fully set forth


herein.
          18.     Defendant Roe owed Plaintiff a fiduciary duty in their joint venture and/or

business relationship.
          19.    Defendant Roe breached that fiduciary duty, by engaging in conflicted roles,

self-dealing, interfering in prospective advantageous business relationships, making false

statements relied on by Plaintiff and others, and/or failing to act in the best interest of the joint

venture and Plaintiff.

       20.       As a result of Defendant Roe's breach of fiduciary duty, Plaintiff has suffered

damages, including but not limited to lost profits, harm to their professional reputation, and

emotional distress.

                                              COUN T SIX

                (Derivative Claim for Breach of Fiduciary Duty by Defendant Roe)




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               21.        Plaintiff incorporates by reference all preceding paragraphs as if fully set forth

     herein. ·
                22.       Plaintiff brings this action derivatively on behalf of the Company.

               23.        Defendant Roe owed the Company a fiduciary duty in their capacity as member,

      manager and 50% shareholder of the Company.
               24.        Defendant Roe breached that fiduciary duty by engaging in conflicted roles,

     self-dealing, interfering in prospective advantageous business relationships, and/or failing to act


     in the best interest of the Company.
               25.        As a result of Defendant Roe's breach of fiduciary duty, the Company has

     suffered damages, including but not limited to lost profits, harm to its reputation,. and potential


     legal liabilities.
               26.    Plaintiff has standing to bring this derivative action because they are a member,

     manager, and 50% shareholder of the Company and has been so throughout the relevant time


    period. -
              27.     Plaintiff has taken appropriate steps to demand that the Defendant Roe address the

    breach of fiduciary duty, but those attempts have failed and Plaintiff has determined that such

    attempts are futile due to Defendant Roe's conflicts of interest, necessitating this derivative


    action.

                                                   COUN T SEVEN
                                              (Fraudulent Inducement)

              28.     Plaintiff incorporates by reference all preceding paragraphs as if fully set forth

    herein.




                                                                                                               5
      Case 1:23-cv-11935-WGY Document 1-1 Filed 08/23/23 Page 22 of 24



             29.    Between about May 20 I 9 and January 2020, Defendant Roe made false

 representations of material facts to Plaintiff with the intent to induce Plaintiff to rely on those

 representations, including among other misrepresentations that Defendant Roe had the authority

 to offer Plaintiff the particular MIT job description, conditions of employment, and

 compensation package that he did.
             30.    Plaintiff reasonably relied on Defendant Roe's false representations in joining

 MIT around August 20 I 9. Plaintiff discovered the fraud when Defendant Roe admitted to

 making the misrepresentations.
             31.    As a result of Defendant Roe's fraudulent inducement, Plaintiff has suffered

 damages, including but not limited to lost profits, harm to her professional reputation, and

 emotional distress.
                                            COUN T EIGHT

                               (Breach of Contract by Defendant MIT)

          32.      Plaintiff incorporates by reference all preceding paragraphs as if fully set forth

herein.
          33.      Plaintiff was employed by Defendant MIT and subject to MIT's employment

policies and procedures, which formed a part of the employment contract between Plaintiff and

Defendant MIT. Additionally, Plaintiff was a third-party beneficiary to MIT's employment

policies and procedures because, for example, the policies met MIT's non-discrimination

requirements as a federal contractor intended to benefit all workers.

          34.      Defendant MIT's policies and procedures required the good faith investigation

and remedy of any complaints of retaliation and discrimination raised by employees, such as

Plaintiff.



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     Case 1:23-cv-11935-WGY Document 1-1 Filed 08/23/23 Page 23 of 24




          35.     Plaintiff raised concerns and complaints regarding retaliation and d"1scnmmat1on
                                                                                           · • .

  to Defendant MIT, which Defendant MIT failed to adequately investigate and remed y,m
                                                                                     ·

  violation of its own policies and procedures.

          36.    As a result of Defendant MIT's breach of contract, Plaintiff has suffered damages,

  including but not limited to lost wages, physical sickness, emotional distress, business tosses,

 and harm to their professional reputation.

                                      DEMAN D FOR RELIEF

         WHEREFORE, Plaintiff respectfully requests that this Court:

         A. Enter judgment in favor of Plaintiff and against Defendants Roe and MIT;

         B. Award Plaintiff damages for lost business opportunities, lost profits, and other

 compensatory damages resulting from the alleged claims;

        C. Award Plaintiff damages for emotional distress and physical sickness resulting from

the alleged claims;

        D. Award Plaintiff punitive, exemplary, and treble damages, if applicable;

        E. Award Plaintiff prejudgment and post-judgment interest on all amounts awarded;

       F. Award Plaintiff reasonable attorney's fees and costs;

       G. Issue an injunction ordering Defendant MIT to implement and enforce policies,

procedures, and training programs aimed at eliminating and preventing the systemic issues that

caused and perpetuated the alleged misconduct, including but not limited to, promoting equal

opportunity, preventing discrimination and retaliation, and ensuring compliance with relevant

laws and regulations; and

       H. Grant such other and further relief as this Court deems just and proper.

                                 DEMAN D FOR .JURY TRIAL




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            Plaintiff hereby demands a trial by jury on all claims and issues so triable.

                                            VERIFICATION

    I, Jane Doe, under the pains and penalties of perjury, hereby depose and say that I am the

    Plaintiff in the above captioned action and that I have read the allegations in the foregoing

    Verified Complaint and, as to each statement of fact alleged therein, I hereby affirm and verify

    that I have actual knowledge of each such fact and that such fact is true, except as to matters

    specifically alleged on information and belief, which I believe to be true.

    Signed under the pains and penalties of perjury on this 4th day of May, 2023.



                                                         Dated: May 4, 2023



                                                        Respectfully submitted,

                                                        Plaintiff,

                                                        Jane Doe




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